IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF NORTH CAROLINA

JOSHUA HENDERSON, individually and on
behalf of all others similarly situated,
Case No. 1:25-cv-00531

Plaintiff,
PLAINTIFFS’ MEMORANDUM OF
Vv. LAW IN SUPPORT OF MOTION
TO CONSOLIDATE, APPOINT
AHOLD DELHAIZE USA SERVICES, LLC, INTERIM LEAD COUNSEL, AND
FOOD LION, LLC, and GIANT FOOD, SET BRIEFING SCHEDULE
LLC,
Defendants.

JON ANKUS, individually and on behalf of

all others similarly situated,

Case No. 1:25-cv-00533
Plaintiff,

v.

AHOLD DELHAIZE USA SERVICES, LLC,

Defendant.

Plaintiffs Joshua Henderson and Jon Ankus (collectively “Plaintiffs”) are the Plaintiffs in
the above-captioned actions that relate to the same alleged data breach. They respectfully move
this Court for an order (1) consolidating Henderson v. Ahold Delhaize USA Services, LLC, Food
Lion, LLC and Giant Food, LLC ,\:25-cv-00531 (filed June 27, 2025), and Ankus v. Ahold Delhaize
USA Services, LLC, 1:25-cv-00533 (filed June 27, 2025) (collectively the “Related Actions”),
pursuant to Fed R. Civ. P. 42(a), as well as any future related actions that may be filed in this

Court, under the docket of the first-filed Henderson action (No. 1:25-cv-00531) and under the new

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caption “Jn re Ahold Delhaize Data Breach Litigation”; (2) appointing Mariya Weekes of Milberg
Coleman Bryson Phillips Grossman, PLLC, Jeff Ostrow of Kopelowitz Ostrow, P.A., and David
Wilkerson of Wilkerson Justus, PLLC as interim co-lead counsel (collectively, “Proposed Interim
Class Counsel”), and Jean S. Martin of Morgan & Morgan, P.A. as interim local counsel
(“Proposed Interim Local Counsel’), pursuant to Fed. R. Civ. P. 23(g); and setting a schedule of
30 days for Plaintiffs to file a single consolidated amended complaint (“CAC”), 60 days for
Defendants to respond thereto, and in the event Defendants file a dispositive motion in response
to the CAC, giving Plaintiffs 30 days to file an opposition, and Defendants 21 days to file a reply,

Consolidation of the Related Action is appropriate because they arise from the same
nucleus of operative factual allegations—a data breach that is believed to involve the personally-
identifiable information (“PII”) and protected health information (“PHI’, and collectively with
“PIT”, “Private Information”) of more than 2.2 million individuals’—and assert similar and
overlapping causes of action on behalf of similar and overlapping classes, seeking the same relief.

Appointing Proposed Interim Class Counsel and Interim Local Counsel here is appropriate
because, as described below, another duplicative action has been filed in this Court, and it is likely
additional cases may be filed. Appointment of Proposed Interim Class Counsel and Local Counsel
will clarify the roles and responsibilities of counsel on behalf of the class, while avoiding
duplicative and unnecessary litigation that could result in inefficiencies for the Court and the
Parties. Appointment of Proposed Interim Class Counsel will allow for more efficient and direct
communication in this case. Proposed Interim Class Counsel will also allow the parties to move
the case forward in an efficient manner. !

1. BACKGROUND

! Plaintiffs’ counsel have not conferred with Defendant’s counsel on this Motion because Defendant’s counsel has yet
to make an appearance in any of the Related Actions.

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Defendant Ahold Delhaize USA Services, LLC (“Ahold”) is the largest grocery retail
group on the east coast and the fourth largest in the United States. Defendant Ahold owns regional
supermarket chains including Defendant Food Lion, LLC (“Food Lion”) and Giant Food, LLC
(“Giant Food”) (collectively “Defendants”)

Plaintiffs and Class Members are current and former employees of Defendants. Defendants
had numerous statutory, regulatory, contractual, and common law duties and obligations, including
those based on its affirmative representations to Plaintiff and Class Members, to keep their Private
Information confidential, safe, secure, and protected from unauthorized disclosure or access.

On November 6, 2024, Defendant Ahold detected a cybersecurity issue involving
unauthorized access to some of its internal U.S. business systems. In response, Defendant Ahold
launched an investigation to determine the nature and scope of the Data Breach. Defendant Ahold’s
investigation determined that an unauthorized third party obtained certain files from one of its
internal U.S. file repositories between November 5 and 6, 2024. Based on a review of the impacted
files, Defendant Ahold determined that some of the files may have included internal employment
records containing personal information obtained in the course of providing services for certain
current and former subsidiaries of Defendant Ahold, including Defendants Food Lion and Giant
Food.

Upon information and belief, the following types of Personally Identifiable Information
(“PIT”) and Protected Health Information (“PHI’, and collectively with “PII”, “Private
Information”) may have been impacted in the Data Breach: name, contact information (for
example, postal and email address and telephone number), date of birth, government-issued
identification numbers (for example, Social Security, passport and driver’s license numbers),

financial account information (for example, bank account number), health information (for

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example, workers’ compensation information and medical information contained in employment
records), and employment-related information.

On June 26, 2025, Defendant Ahold issued a notice of public disclosure about the Data
Breach and began sending notice letters to individuals impacted.

To date, there have been two putative class actions filed related to the Data Breach. Counsel
in these Related Actions acted promptly to coordinate their efforts and to move the cases forward
efficiently. Counsel now seek to consolidate these actions and move for the appointment of
Proposed Interim Class Counsel and Interim Local Counsel to streamline the efficient prosecution
of this litigation.

I. ARGUMENT

A. The Related Actions Should be Consolidated Under Rule 42(a)

Federal Rule of Civil Procedure 42(a) provides that “if actions before the court involve a
common question of law or fact, the court may consolidate the actions.” Fed. R. Civ. P. 42(a);
Sellers v. Southeastern Comty. and Family Services, Inc., Nos. 1:14-cv-422, 1:14-cv-1032, 2015
WL 1789042 at *1 (M.D.N.C. Apr. 20, 2015). If the motion to consolidate “meet[s] the threshold
requirement of involving a common question of law or fact, whether to grant the motion becomes
an issue of judicial discretion.” Jd. (citing Pariseau v. Anodyne Healthcare Mgmt., Inc., No. Civ.
A. 3:04-cv-630, 2006 WL 325379, at *1 (W.D.N.C. Feb. 9, 2006). In exercising its “broad
discretion” to determine whether consolidation is appropriate,

[T]he court should weigh the risk of prejudice and possible confusion versus the
possibility of inconsistent adjudication of common factual and legal issues, the
burden on the parties, witnesses, and judicial resources by multiple lawsuits, the

length of time required to try multiple suits versus a single suit, and the relative
expense required for multiple suits versus a single suit.

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In re Cree, Inc., Secs. Litig., 219 F.R.D. 369, 371 (M.D.N.C. 2003) (citing Arnold v. E. Air Lines,
681 F.2d 186, 193 (4th Cir. 1982). Where, as here, the actions involve “common parties,
overlapping legal issues, and related factual scenarios, and the consolidation itself [will] not cause
unfair prejudice,” this Court has found that “[c]onsolidation is appropriate.” Roanoke River Basin
Ass’n v. Duke Energy Progress, LLC, Nos. 1:16-cv-607, 1:17-cv-452, 2018 WL 11449626, at *3
(M.D.N.C. May 8, 2018) (granting consolidation where the cases involved “common questions of
law and fact”, and consolidation would “promote judicial economy, prevent inconsistent
adjudications of common questions of law and fact, and [would] likely prove to be less burdensome
for the Court, litigants, and witnesses.”); Fenix Flashlights, LLC v. Jian Li, Nos. 1:12-cv-1310,
1:15-cv-140, 2015 WL 5774252, at *3 (M.D.N.C. Sep. 30, 2015) (granting consolidation “given
the essentially identical nature of the two matters, the lack of any demonstrated prejudice of
consolidation, and the inefficiency of considering the same arguments twice....”).
1. Common Questions of Law and Fact Predominate

Consolidation is appropriate here because the Related Actions are substantively identical
and are in the same stage of litigation. Each action: (1) is brought as a putative class action seeking
to certify the same class of individuals; (11) alleges overlapping claims; and (111) arises out of the
same Data Breach that inflicted the same alleged injuries, namely, exposure of Plaintiffs’ and the
Class’s Private Information. The identical factual predicate of each of the Related Actions, coupled
with the identical questions of law in both actions provides two independent bases for
consolidation.

Consolidation of the Related Actions is warranted because it will simplify discovery,
pretrial motions, class certification issues, and other case management issues, especially because

the Related Actions are at their procedural inception. Consolidating the Related Actions will also

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reduce the confusion and delay that may result from prosecuting related putative class actions
separately, including eliminating duplicative discovery and the possibility of inconsistent rulings
on class certification, Daubert motions, and other pretrial matters. Furthermore, consolidation will
foster judicial economy and will not prejudice any party.

Courts consistently find that data privacy cases are particularly appropriate for Rule 42
consolidation. See, e.g., Bedont v. Horizon Actuarial Services, LLC, No. 1:22-CV-01565-ELR,
2022 WL 3702117, at *2 (N.D. Ga, Atlanta May 12, 2022) (Slip Copy) (“All of the Cases stem
from the same data breach and will thus involve similar factual issues.”); McDonald v.
PaperlessPay Corp., No. 3:20-CV-1005-MMH-MCR, 2021 WL 931599, at *3 (M.D. Fla. Mar.
11, 2021) (court ordered consolidation of data breach cases because even though there were “slight
distinctions in proposed class definitions and specific causes of action” the cases concerned the
same data breach, which resulted in generally the same type of harm, to the same broad category
of putative class members); Dreger v. Progressive Leasing LLC, No. 2:23-cv-00783-DBB-CMR,
2024 WL 115854 (D. Utah, Jan. 10, 2024) (same).

2. The Cases Face the Risk of Inconsistent Adjudications

There is a substantial threat of inconsistent adjudications of common factual and legal
issues if the cases are allowed to proceed separately. See Arnold, 681 F.2d at 193. The Related
Actions are pled as class actions. They allege similar claims and seek certification of the same
classes. Absent consolidation, it is possible multiple overlapping classes could be certified which
may lead to Defendant’s being responsible for more than one judgment for the same class. The
potential risk of prejudice and possible confusion is far outweighed by the risk of inconsistent

adjudications. Id.

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Moreover, all of the cases before this Court have the same procedural posture where the
Complaints have been filed, but Defendant has not yet filed a response. “Thus, this is not a case
where consolidation will result in the delay of an otherwise trial-ready action.” McDonald, 2021
WL 931599, at *4. Plaintiffs and Defendant will experience very little prejudice, if any, by
consolidating these cases. Therefore, this factor militates in favor of consolidation. See id. at *3
(Consolidation is appropriate where the plaintiff sought to represent an overlapping class
consisting of persons impacted by the data breach; thus, if not consolidated, each of the cases
would likely present largely duplicative requests for class certification raising common legal issues
on whether certification is appropriate and the proper definition of any such class.).

3. The Burden Posed by Multiple Lawsuits is Substantial

The burden on the Parties, the witnesses, and judicial resources will be substantially
lessened by consolidation. Here, no plaintiff opposes consolidation, which augurs in favor of
consolidation. See Kavra v. Health Ins. Innovations, Inc., No. 8:17-CV-2186-T-17MAP, 2017 WL
10295953, at *1 (M.D. Fla. Dec. 28, 2017) (“Here the absence of any objection to motion to
consolidate augurs in favor of consolidation.”); Bedont, 2022 WL 3702117, at *2. Consolidation
will allow Plaintiffs to jointly prosecute the case, share discovery documents, and avoid the
possibility of the Court certifying overlapping classes. The burden of maintaining separate lawsuits
will be lessened by consolidation. Arno/d, 681 F.2d at 193. Defendant also does not oppose
consolidation.

Lastly, judicial resources will be conserved by presiding over one consolidated case rather
than multiple separate cases. It is likely that other similar cases will follow this one, given the size
of the class. As such, consolidating these cases will reduce the number of motions, briefings,

hearings, and trials before the Court.

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4. Litigating Separate Actions Would Require More Time than Litigating a
Consolidated Action.

Consolidation of cases is permitted as a matter of convenience and economy, even though
consolidation does not merge separate suits into one cause of action. Empire Aluminum Corp. v.
SS Korendijk, 391 F. Supp. 402, 410 (S.D. Ga., Savannah 1973). Consolidation of similar class
actions expedites pretrial proceedings, reduces case duplication, avoids the need to contact parties
and witnesses for multiple proceedings, and minimizes the expenditure of time and money for all
parties involved. Baker v. City of Atlanta, No. 1:21-cv-4186-MLB, 2022 WL 18777369, at *2
(N.D. Ga, Mar. 8, 2022); see also Leprino Foods Co. v. DCI, Inc., No. 13-cv-02430-RM-KMT,
2015 U.S. Dist. LEXIS 2482, at *7-9 (D. Colo. Jan. 9, 2015) (the court found that the two actions
involve common questions of law or fact and thus “consolidation of these two actions will avoid
unnecessary costs and will promote judicial efficiency”).

It is plainly understood that litigating multiple separate causes of actions versus one
consolidated action would take substantially more time for the Court and the Parties. Thus, the
length of time required to conclude a consolidated lawsuit instead of multiple suits is likely to be
significantly lessened and, therefore, weighs in favor of consolidation. Arno/d, 681 F.2d at 193.

5. The Expense of Multiple Trials Supports Consolidation.

Finally, the relative expense to all parties concerned—particularly with regard to
discovery—is highly likely to be lessened by litigating in one consolidated case rather than
litigating in separate cases. Jd.

6. Conclusion

Thus, Plaintiffs respectfully request that the Court consolidate the Related Actions under

the docket number of the first filed case, No. 1:25-cv-00531, and under the new caption /n re Ahold

Delhaize Data Breach Litigation.

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B. The Court Should Appoint Interim Class Counsel and Local Counsel Pursuant
to Rule 23(g)

Pursuant to Rule 23(g), a court may “designate interim counsel to act on behalf of a putative
class before determining whether to certify the action as a class action.” Bedont, 2022 WL
3702117, at *2. Designation of interim counsel prior to class certification is appropriate because
certain conduct and filings, such as discovery, discussion of settlement, or motion practice, are
typically required prepare for the certification decision. Fed. R. Civ. P. 23 Advisory Committee
Notes (2003).

Early class counsel appointments are particularly important where, as here, other cases
have been and will continue to be filed by other counsel, including in other courts. See, e.g. Othart
Dairy Farms, LLC v. Dairy Farmers of Am., Inc., No. 22-cv-0251 MIS/SMV, 2022 U.S. Dist.
LEXIS 133270, at *9 (D.N.M. July 27, 2022) (“Such appointment is warranted where there are
multiple overlapping cases, ‘rivalry [amongst counsel,] or uncertainty that makes formal
designation of interim counsel appropriate.’”); Gamboa v. Ford Motor Co., 381 F. Supp. 3d 853,
867 (E.D. Mich. 2019)); Beture v. Samsung Elecs. Am., Inc., No. 17-5757 (SRC), 2018 U.S. Dist.
LEXIS 50413, at *3 (D.N.J. Mar. 27, 2018) (“This Court is persuaded that it is in the interest of
the putative class of Plaintiffs to prevent a competition between counsel, and to encourage the
coordination and cooperation of counsel by granting this motion.”’). “In such cases, designation of
interim counsel clarifies responsibility for protecting the interests of the class during
precertification activities, such as making and responding to motions, conducting any necessary
discovery, moving for class certification, and negotiating settlement.” /d. (citing Manual for
Complex Litigation (4th) § 21.11).

Thus, appointing lead counsel now will “clarif[y] responsibility for protecting the interests

of the class during precertification activities, such as making and responding to motions,

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conducting any necessary discovery, moving for class certification, and negotiating settlement.”
Manual § 21.11; see, e.g., Tolmasoff v. General Motors, LLC, Case No. 16-11747, 2016 U.S. Dist.
LEXIS 85101, at *27 (E.D. Mich. June 30, 2016) (appointing interim class counsel where
competing cases “may follow”). This clarity is particularly important in a case, such as this one,
where thousands of class members likely have been impacted by the alleged conduct and where
numerous cases have been and will continue to be filed.
Courts typically look to the Rule 23(g) factors used in determining the adequacy of class
counsel under Rule 23(g)(1)(A). Bedont, 2022 WL 3702117, at *2. These factors are:
(1) the work counsel has done in identifying or investigating potential claims in the
action;
(2) counsel’s experience in handling class actions, other complex litigation, and the
types of claims asserted in the action;
(3) counsel’s knowledge of the applicable law; and
(4) the resources counsel will commit to representing the class.
Fed. R. Civ. P. 23(g)(1)(A).
As discussed below, each of the relevant factors demonstrate that Proposed Interim Class
Counsel are highly qualified to represent the interests of the class.

1. Proposed Interim Lead Class Counsel and Local Counsel performed
Substantial Work in Investigating this Action

Proposed interim lead class counsel and local counsel have committed substantial, yet
appropriate, time and resources to organizing and working toward the advancement of this
litigation, investigating and researching the potential legal theories and claims at issue, and
researching and reviewing information relating to the factual underpinnings of the Data Breach.

Counsel is familiar with the facts and legal issues in this matter and will continue his pursuit of the

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claims on behalf of Plaintiffs and the class. Plaintiffs’ counsel were the first to comprehensively
investigate the facts of this matter and commence the prosecution of the cases. Plaintiffs counsel
devoted substantial time investigating the background facts, drafting a detailed complaint, and
coordinating with other plaintiffs’ counsel.

Proposed Interim Class Counsel and Local Counsel continue to perform substantial work
that has been (and will be) valuable to the class as the case moves forward. This includes but is
not limited to: (a) reviewing communications concerning the Data Breach; (b) engaging in ongoing
communications with absent class members; (c) investigating the scope of the Data Breach’s
alleged consequences and Defendant’s public response regarding the same; (d) researching
potential claims arising from the Data Breach and defenses thereto; (e) performing sufficient legal
research into the causes of actions that can be asserted on behalf of the class; and (f) using this
information to prepare a consolidated complaint.

Proposed Interim Class Counsel and Local Counsel have conducted all the work necessary
to prosecute this litigation thus far, and he stands ready, willing, and able to continue to devote the
substantial effort and resources (including the advancement of costs) necessary for advancing the
claims of Plaintiffs and the proposed class.

2. Proposed Interim Lead Class Counsel and Local Counsel Have

Substantial Knowledge About and Is Experienced in Leading and
Resolving Data Privacy Class Actions.

Data privacy cases present unique and novel issues of fact and law that are always evolving.
They further require an understanding of the technical issues of data hacking, data privacy
measures, and industry standards. Appointing class counsel experienced in data privacy litigation
is in the best interest of the class. Outten v. Wilmington Tr. Corp., 281 F.R.D. 193, 200 (D. Del.
2012) (“Experience and knowledge of the law is of the utmost importance when determining lead

counsel.”’).

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Mariya Weekes of Milberg Coleman Bryson Phillips Grossman, PLLC

Mariya Weekes a Partner at the international plaintiffs’ class action firm Milberg Coleman
Bryson Phillips Grossman, PLLC (“Milberg”). Since Milberg’s founding in 1965, it has repeatedly
taken the lead in landmark cases that have set groundbreaking legal precedents, prompted changes
in corporate governance, and recovered over $50 billion in verdicts and settlements.*Milberg has
been instrumental in obtaining precedent setting decisions at every level, including at the United
States Supreme Court.* The firm pioneered federal class action litigation and is widely recognized
as a leader in defending the rights of victims of corporate and other large-scale wrongdoing.
Milberg has more than 100 attorneys on staff and has offices across the United States and the
European Union.

Ms. Weekes is a former Florida State Circuit Court Judge, elected to the bench by her
constituents. As a Florida Circuit Court Judge, she presided over thousands of complex cases,
hundreds of trials, and motions. In her capacity as a Circuit Court Judge, she served on the Circuit’s
appellate panels reviewing appeals from the lower trial Courts and administrative agencies. Before
ascending to the bench, she practiced as a trial lawyer representing individuals and corporations in
complex cases throughout the State of Florida. As a practicing attorney, she has personally tried
dozens of jury trials to verdict and has participated in many significant cases. Both as a civil trial
lawyer and former prosecutor, she has handled complex cases from their inception through appeal.
Since leaving the bench, she now represents individuals and other entities in class action litigation

in both state and federal courts.

2 See, e.g., In re Tyco International Ltd., Securities Litigation, MDL 1335 (D.N.H.) (serving as lead counsel and
obtaining approval of $3.2 billion settlement); Jn re Prudential Insurance Co. Sales Practice Litigation, No. 95-4704
(D.N.J.) (serving as lead counsel and recovering more than $4 billion for policyholders); see also
https://milberg.com/outstanding-recoveries/.

3 See https://milberg.com/precedent-setting-decisions/page/3/.

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After stepping down from the bench, Ms. Weekes joined Milberg’s Cybersecurity and Data
Privacy Group, which has extensive experience serving as leadership in numerous privacy class
actions, including as lead or co-lead counsel in the largest data breaches in the country. See, e.g.,
In Re: LoanCare Data Security Breach Litig., No. 3:23-cv-1508-MMH-MCR (M.D. Fla.) (where
Ms. Weekes was appointed co-lead counsel in a consolidated action involving more than 1.3
million consumers); /n Re: Berry, Dunn, McNeil & Parker Data Security Incident Litigation., No.
2:24-cv-00146 (D. Maine) (Ms. Weekes was appointed to the executive committee in a
consolidated action involving 1.1 million consumers); Reichbart v. Financial Business and
Consumer Solutions, Inc., No. 24-cv-1876 (E.D. Penn.) (Ms. Weekes was appointed chair of the
Plaintiffs’ Executive Committee in a consolidated action involving more than 1.9 million
consumers); Morrison et al. v. Family Dollar Stores, LLC, et al., 0:24-cv-60294-AHS (S.D.F1.)
(Ms. Weekes was appointed as co-lead counsel in a consolidated consumer protection class action
involving adulterated mediations impacting thousands of consumers across 19 States); W. v.
LivaNova USA, Inc., Case No. 4:24-cv-02250 (S.D. Tex.) (Ms. Weekes was appointed Interim Co-
Lead Counsel); Jn re Coastal Orthopedics & Sports Medicine of Southwest Florida Data Breach
Litig., Case No. 2024-CA-1078AX (12 Judic. Circ. Ct. of Fla., Manatee Cnty.) (Ms. Weekes was
appointed Interim Class Counsel); Lomedico v. MarineMax, Inc., Case No. 8:24-cv-1784-MSS-
AEP (M.D. Fla.) (appointed joint Interim Class Counsel); Jn re TRC Staffing Services, Inc. Data
Breach Litig., Case No. 1:24-cv-02398-VMC (N.D. Ga.) (Ms. Weekes was appointed co-lead
counsel); Lepore et al v. Affiliated Dermatologists & Dermatologic Surgeons, P.A., Case No.
MRS-L-001091-24 (Ms. Weekes was appointed Interim Class Counsel); Owens et al v. MGM
Resorts International, et al., Case No. 2:23-cv-01480-RFB-MDC (D. Nev.) (Ms. Weekes was

appointed to Plaintiffs’ Steering Committee); Mckinley v, Doxim, Inc. Case No. 2:24-cv-11550-

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TGB-CI (E.D. Mich.) (Ms. Weekes was appointed co-lead counsel); Cucuta v. FloridaCentral
Credit Union, Case No. 24-CA-006065 (Hillsborough County, Fl.) (Ms. Weekes was appointed
co-lead counsel).; In re: Movelt Customer Data Security Breach Litigation, 1:23-md-03083 (D.
Mass.) (where Milberg was appointed to the leadership committee in multi-district litigation
involving a data breach that impacted more than 95 million consumers).*Milberg’s Cybersecurity
and Data Privacy Group is largely responsible for developing the favorable case law that many
plaintiffs rely on in the data breach space. See e.g., Webb v. Injured Workers Pharmacy, LLC, 72
F.4th 365 (1st Cir. 2023) (Milberg attorneys obtained a decision from the First Circuit reversing
the dismissal with prejudice of a data breach case and finding Article III standing); /n re Arthur J.
Gallagher Data Breach Litig., 631 F. Supp. 3d 573, 586 (N.D. Ill. 2022) (Milberg attorneys largely
defeated a motion to dismiss in a data breach case involving 3 million consumers); /n re
Blackbaud, Inc., Customer Data Breach Litig., No. 3:20-MN-02972-JMC, 2021 WL 2718439, at
*1 (D.S.C. July 1, 2021) (Milberg attorneys defeated a standing challenge in a 10 million person
data breach case).

A copy of Ms. Weekes resume, which includes additional information about Ms. Weekes
and her firm is attached hereto as Exhibit A.

Jeff Ostrow of Kopelowitz Ostrow P.A.

Jeff Ostrow is the Managing Partner of Kopelowitz Ostrow P.A. and has been practicing
law for 28 years. Mr. Ostrow established the South Florida-based firm immediately following his

graduation from Nova Southeastern University in 1997 and has since grown it to 25 attorneys.

4 See, also Morrill v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-20955-DPG (S.D. Fla.) (where Milberg is
appointed to the leadership committee in a data breach class action involving 6 million consumers); Sherwood v.
Horizon Actuarial Services, LLC, Case No. 1:22-cv-01495-ELR (N.D. Ga.) (where Milberg is court-appointed co-
lead counsel in a data breach class action involving 4 million consumers).

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Beyond managing the firm, Mr. Ostrow heads the class action department and maintains a
full caseload of nationwide class actions. Although Mr. Ostrow currently only represents class
plaintiffs, he has prior experience defending large companies in class actions, including banks,
commercial lenders, and tech companies, which affords him a valuable perspective and advantage
in litigation and settlement.

Mr. Ostrow oversees one of the largest data breach groups in the country. He is currently
Lead Counsel in MDL-3090, Jn re Fortra File Transfer Software Data Sec. Breach Litig., No. 24-
md-3090 (S.D. Fla.), which involves 10 defendants and 6 million people. Additional examples of
other cases in which he serves as Lead Counsel include: Crowe v. Managed Care of N. Am., Inc.,
No. 23-cv-61065 (S.D. Fla.), affecting eight million individuals; /n re Zeroed-In Techs., LLC Data
Breach Litig., No. 1:23-cv-03284-BAH (D. Md.), affecting two million individuals, Harrell v.
WebIPA Employer Servs. LLC, No. 3:24-cv-01160 (N.D. Tex.), affecting two and half million
individuals; Stallone v. Fin. Bus. & Consumer Sols., Inc., No. 2:24-cv-01876 (E.D. Pa.), affecting
almost two million individuals; Gambino v. Berry, Dunn, Mcneil & Parker LLC, No. 2:24-cv-146
(D. Me.), affecting 1.1 million individuals; Mclean v. Signature Performance, Inc., No. 8:24-cv230
(D. Neb.), affecting at least 106,540 patients; Wilson v. Frontier Comm’ns Parent, Inc., No. 3:23-
CV-01418-L (N.D. Tex.), affecting at least 750,000 individuals; Flores v. S. Tex. Oncology &
Hematology, PLLC, No. 2024C113299 (Tex. Dist. Ct., Bexar Cty.), affecting 176,303 patients; /n
re HealthEquity, Inc. Data Sec. Incident Litig., No. 2:24-cv-528 (D. Utah), affecting 4.3 million
patients; Griffiths v. Kootenai Health, Inc., No. 2:24-cv-205 (D. Idaho), affecting 827,149 patients;
Butler v. Acadian Ambulance Serv., Inc., No. 6:24-cv-01011 (W.D. La.), affecting 3 million
patients; and /n re DISA Global Data Breach Litigation, No. 4:25-cv-00821 (S.D. Tex.), affecting

3.3 million people.

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For about 13 years, Mr. Ostrow’s firm served as Coordinating Counsel, Settlement Class
Counsel, and Lead Class Counsel in Jn re Checking Acct. Overdraft Litigation, No. 1:09-MD-
02036-JLK (S.D. Fla.), a large MDL that resulted in the recovery of $1.2 billion from the nation’s
largest banks, and is Liaison Counsel in /n re Disposable Contact Lens Antitrust Litigation, No.
3:15-md-2626-HES-JRK (M.D. Fla.), an antitrust class action with $85 million recovered to date.
Moreover, Mr. Ostrow’s firm is co-counsel for Broward County and the City of Fort Lauderdale
in In re: National Prescription Opiate Litigation, No. 1:17-md-2804 (N.D. Ohio), and for the
Broward and Miami Dade County School Boards in Jn re Juul Labs, No. 19-md-2913 (N.D. Cal.),
helping clients recover $100 million and $26 million, respectively.

Federal judges have recognized Mr. Ostrow’s commitment to excellence. In Farrell v.
Bank of America, N.A., 327 F.R.D. 422, 432 (S.D. Cal. 2018), in which Mr. Ostrow served as lead
counsel on behalf of millions of people, United States District Judge James Lorenz made the
following observation when granting final approval of a settlement that included a $68 million
recovery and $1.2 billion in injunctive relief requiring the defendant bank to stop an enormously
lucrative practice:

Class Counsel achieved this result through tenacity and great skill. In all of their written
submissions and in their presentation at the Final Approval Hearing, Class Counsel’s arguments
were laudably clear and precise, no small feat given the complexity of the legal questions at issue
here. It is clear that substantial preparation went into all of Class Counsel’s work on this case.

Similarly, when approving a $13 million settlement in which Mr. Ostrow was one of the
lead counsel, United States District Judge James Lawrence King commented that “Class Counsel’s
efforts in pursing and settling these consumer claims were, quite simply, outstanding.” Jn re

Checking Account Overdraft Litig., 1:09-md-02036-JLK, 2013 WL 11319244, *16 (S.D. Fla. Aug.

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2, 2013). In another recent case in which Mr. Ostrow was lead counsel, United States District
Judge Jose Martinez noted, “Here, Class Counsel worked extensively and with a high level of skill
to advance Plaintiff’s claims . . . The case involved difficult factual and legal issues from a global
pandemic... . Despite the strong defenses presented by Barry [University], Class Counsel obtained
an excellent result for the Settlement Class Members.” Rosado v. Barry Univ., Inc., No. 1:20-cv-
21813-JEM (S.D. Fla.), ECF No. 84 at 14.

Mr. Ostrow has worked productively with Proposed Interim Co-Lead Class Counsel in
many other cases. He is confident that this proposed leadership structure will result in an excellent
55 recovery for all clients and Class Members.

A copy of Mr. Ostrow’s resume, which includes additional information about Mr. Ostrow
and his firm is attached hereto as Exhibit B.

David Wilkerson of Wilkerson Justus, PLLC

David Wilkerson is a graduate of the University of South Carolina Law School and member
of good standing of the North Carolina State Bar and the South Carolina State Bar. David co-
founded the firm of Wilkerson Justus in April 2025 after over 18 years as a Senior Principal at
another North Carolina firm.

He currently serves as class counsel in numerous class actions around the nation and
practices in the area of complex business litigation. He served for six years on the section council
for the Antitrust and Complex Litigation Section of the North Carolina Bar Association and has
served on the North Carolina Business Court Rules Committee. He currently serves on the section
council for the Litigation Section of the North Carolina Bar Association. His recent leadership in
class actions includes, but is not limited to, serving as co-lead counsel in Gaston v. Lexis Nexis

Solutions, et al., No. 5:16-cv-9 (W.D.N.C.); class counsel in Jn Re Blue Cross Antitrust, No. 2:13-

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cv-20000 (N.D.A.L.); interim liaison counsel in In Re Sanderson and Koch Broiler Chicken
Grower Litigation, No. 7:10-cv-00031 (E.D.N.C); co-lead counsel in Morris v. Bank of America,
N.A., No. 3:18-CV-157 (W.D.N.C.); co-lead counsel in Peters v. Aetna, No. 1:15-cv-00109-MR
(WDNC); co-lead counsel in Millwood v. State Farm Life Insurance Company, No. 7:19-cv-01445
(D.S.C.). Since 2021, he has argued cases in the Ninth Circuit Court of Appeals, the Federal Circuit
Court of Appeals, the United States Patent and Trademark Appeal Board, and served as counsel in
class actions in South Carolina, Oklahoma, Virginia, and Missouri, among others. He recently
presented on a panel at the North Carolina Bar Association Litigation Section annual CLE on
privacy breach class actions.

A copy of Mr. Wilkerson’s resume, which includes additional information about Mr.
Wilkerson and his firm is attached hereto as Exhibit C.

Jean S. Martin of Morgan & Morgan, P.A.

Jean S. Martin is one of the lead attorneys in the Class Action Department of Morgan &
Morgan, devoting her practice to data privacy, consumer protection, and defective
products class actions. Ms. Martin received her Juris Doctor degree from Wake Forest University
School of Law, where she served as Editor-in-Chief of the Wake Forest Law Review. Ms. Martin
graduated from Wake Forest University with a Bachelor of Science in Mathematical Economics
and earned a Master of International Business from the University of South Carolina. She also has
served as an adjunct professor at her alma mater, Wake Forest University School of Law. She
obtained eDiscovery certification from the eDiscovery Training Academy at Georgetown Law
Center in 2017.

Ms. Martin has been honored with the prestigious “AV” rating by Martindale-Hubbell. In

2016, Ms. Martin was selected by her peers as the foremost Litigation attorney in the State of

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North Carolina for Business North Carolina Magazine's Legal Elite, gaining membership in
the Legal Elite Hall of Fame. For upholding the highest principles of the legal profession and for
outstanding dedication to the welfare of others, Ms. Martin has also been selected as a Fellow of
the American Bar Foundation, an honorary legal organization whose membership 1s limited to one
third of one percent of lawyers in each state. In 2022, she was recognized by Law360 as an MVP
in the area of cybersecurity and data privacy. She was recently named as one of National Law
Journal's Class Action/ Mass Tort Litigation Trailblazers of 2023.

Ms. Martin concentrates her practice on complex litigation, including consumer protection
and data privacyclassactions. She presently serves by appointment as interim co-
lead counsel in, Combs, et al. v. Warner Music Group, Case No. 1:20-cv-07473-PGG (S.D.N.Y.)
and Johnson, et al. v. Yuma Regional Medical Center, 2:22-cv-01061-SMB (D. Ariz.). She also
serves as amember of the Plaintiffs’ Steering Committee for the cases proceeding against LabCorp,
Inc. in Jn re: American Medical Collection Agency Data Breach Litigation, 19-md-2904 (D. N.J.)
and a steering committee member /n re: Allergan Biocell Textured Breast Implant Products
Liability Litigation, No. 19-md-2921 (D. N.J).

In a case in which she serves as interim co-lead counsel, Ms. Martin argued a motion
for class certification which resulted in the first order in the country granting Rule
23(b)(3) certification in a consumer payment card data breach. Jn re Brinker Data Incident
Litig., No. 3:18-CV-686-TJC-MCR, 2021 WL 1405508 (M.D. Fla. Apr. 14, 2021).

She has served in leadership positions in many consumer class actions and consolidated
proceedings in federal courts around the country, including infer alia: In re Morgan Stanley Data
Security Litigation, 1:20-cv-05914 = (S.D.N.Y.)($68 = million settlement for 15

million class members); Aguallo, et al. v. Kemper Corp., et al., Case No.: 1:21-cv-01883 (N.D.

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Ill.) (data breach settlement valued at over $17.5 million) (co-lead counsel); Gordon, et al. v.
Chipotle Mexican Grill, Inc., No. 17-cv-01415 (D. Colo.) (data breach) (co-lead counsel); Linnins
v. HAECO Americas, Inc., et al., No. 16-cv-486 (M.D.N.C.) (employee data disclosure) (co-
lead counsel); Torres v. Wendy's International, LLC, No. 6:16- cv-210 (M.D. Fla.) (data breach)
(class counsel); Fuentes, et al. v. UniRush, LLC, et al., No. 1:15- cv-08372 (S.D.N.Y.) (disruption
in servicing of financial accounts) (co-lead counsel); Lewis, et al., v. Green Dot Corp., et al., No.
2:16-cv-03557 (C.D. Cal.) (disruption in servicing of financial accounts) (class counsel); Brady,
etal. v. Due North Holdings, LLC, et al., No. 1:17-cv-01313 (S.D. Ind.) (employee data disclosure)
(class counsel).

Ms. Martin has been a presenter on a variety of topics related to class actions
including: Fantasy Gaming Webinar: FanDuel and DraftKings Litigation, AAJ (December
2015); Thinking Outside the Black Box: Drug Cases in the Class Context, Mass Torts Made
Perfect (October 2019); Mass Torts andMDLs, Western Alliance Class Action Forum (March
2020); Consumer Class Actions, Western Alliance Class Action Forum (March 2022); How to
Maximize Efficiency in Document Production and Review, Mass Torts Made Perfect (April
2022); Class Action Takeover: The Rise of Class Actions within MDLs, HarrisMartin (July 2023).

A copy of Ms. Martin’s resume, which includes additional information about Ms. Martin
and her firm is attached hereto as Exhibit D.

C. Proposed Briefing Schedule

Plaintiffs submit the following proposed schedule:

1. Plaintiffs’ Consolidated Class Action Complaint shall be filed within 30 days after
consolidation and appointment of interim co-lead class counsel;

2. Defendant shall file a Motion to Dismiss or Answer to the Consolidated Class

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Action Complaint within 60 days of filing of the Consolidated Class Action Complaint, Plaintiffs
have 30 days to file a response to the motion to dismiss, and Defendant has 21 days to file its reply
in support of any motion to dismiss the Consolidated Class Action Complaint.
Il. CONCLUSION

Plaintiffs respectfully request that the Court grant their motion and enter an order: (1)
consolidating the Related Actions; (2) appointing Mariya Weekes of Milberg Coleman Bryson
Phillips Grossman, PLLC, Jeff Ostrow of Kopelowitz Ostrow, P.A., and David Wilkerson of
Wilkerson Justus, PLLC as interim liaison counsel, and Jean S. Martin of Morgan & Morgan, P.A.
as interim local counsel, and (3) setting the proposed briefing schedule discussed supra. A

proposed order granting this relief is submitted herewith.

Dated: June 30, 2025
/s/ David M. Wilkerson
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Attorneys for Plaintiffs and the Proposed
Class

*pro hac vice forthcoming

CERTIFICATE OF SERVICE

I certify that on June 29, 2025, a true and correct copy of the foregoing has been furnished

by electronic filing with the Clerk of the Court via CM/ECF, which will send notice of electronic

filing to all counsel of record.

/s/_ David M. Wilkerson
David M. Wilkerson

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